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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

KHOSROW SADEGHIAN                                     §
and AMY JO SADEGHIAN                                  §
                                                      §
       Plaintiffs,                                    §
                                                      §
VS.                                                   §       Case No. 4:13cv719
                                                      §
UNITED STATES OF AMERICA                              §
                                                      §
       Defendant.                                     §

              MEMORANDUM OPINION AND ORDER DISMISSING CASE
                       FOR WANT OF PROSECUTION

       On December 1, 2015, this case was assigned to the undersigned by consent of the parties.

See Dkt. 23. On January 26, 2016, the Court entered the Fourth Amended Scheduling Order in this

matter, noting that the case had been pending on the Court’s docket since December 2013 and setting

all remaining pretrial deadlines as well as the final pretrial conference. See Dkt. 27.

       The Order directed pro se Plaintiffs to deliver to the Court a copy of the Joint Final Pretrial

Order prepared in accordance with Local Rule CV-16(b) and Joint Proposed Jury Instructions and

Verdict Form (or proposed Findings of Fact and Conclusions of Law in nonjury cases) by April 20,

2016. Id. Nothing was received from Plaintiffs by the Court’s deadline.

       In its April 20, 2016 pretrial filings with the Court, Defendant notified the Court that

Plaintiffs did not make their pre-trial disclosure pursuant to Fed. R. Civ. P. 26(a)(3) by the Court’s

deadline. See Dkt. 31; see also Dkts. 29 and 30 (Defendant’s proposed exhibit and witness lists and




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Defendant’s proposed findings of fact). Defendant also notified the Court that, although it complied

with its April 13, 2016 deadline to make its pretrial disclosures and to provide its share of

information for the final pretrial order, Plaintiffs did not deliver to Defendant their share of the

necessary information contained in the Joint Final Pre-trial Order or their proposed Findings of Fact

and Conclusions of Law in this nonjury case. See Dkt. 31.

       Based on the record before it, the Court finds that this case should be dismissed for want of

prosecution. See FED. R. CIV. P. 41(b); FED. R. CIV. P. 37(b)(2)(A)(v) (a court may dismiss an action

in whole or in part for a party’s failure to comply with discovery order); Larson v. Scott, 157 F.3d

1030, 1031 (5th Cir. 1998) (“A district court sua sponte may dismiss an action for failure to

prosecute or to comply with any court order.”); Jackson v. Lewis Food Town, Inc., 203 Fed. App’x

576, 576 (5th Cir. 2006) (affirming dismissal where the magistrate judge, district judge, and counsel

for the defendant “patiently and properly” sought to obtain information from the plaintiff and the

plaintiff was informed of what was required and what consequences could result from failure to

comply but continued to refuse to comply); Bivins v. Mississippi Press Register, Inc., 72 Fed. App’x

166, 167 (5th Cir. 2003) (affirming dismissal of complaint with prejudice where the record showed

that the plaintiff wilfully refused to comply with discovery orders, although the magistrate judge

gave repeated extensions of the discovery deadlines).

       Plaintiffs have failed to comply with the Court’s clear deadlines. Plaintiffs have not provided

information to Defendant as directed, nor have they filed the pretrial materials as ordered by this

Court. The Court further notes that although the case has remained pending on the Court’s docket




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    for more than 29 months, other than acknowledgments of receipt of certain court correspondence,

    Plaintiffs have taken essentially no action in this case since the filing of their complaint. Plaintiffs

    have simply not actively prosecuted their claims,

.           It is therefore ORDERED that this case is dismissed without prejudice for want of

    prosecution. It shall be closed on the Court’s docket, and all costs shall be borne by the party

    incurring same.

            SO ORDERED.

            SIGNED this 28th day of April, 2016.

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                                                     ____________________________________
                                                     DON D. BUSH
                                                     UNITED STATES MAGISTRATE JUDGE




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